
694 S.E.2d 393 (2010)
STATE of North Carolina
v.
Rodney Keith BOOTHE.
No. 50P10.
Supreme Court of North Carolina.
March 11, 2010.
James R. Parish, Fayetteville, for Rodney Keith Boothe.
William P. Hart, Special Deputy Attorney General, Chris Z. Sinha, John G. Barnwell, Assistant Attorneys General, for State of North Carolina.
Prior report: ___ N.C.App. ___, 689 S.E.2d 600.

ORDER
Upon consideration of the petition filed on the 28th of January 2010 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 11th of March 2010."
